Case 22-19791-KCF   Doc 23-9 Filed 02/16/23 Entered 02/16/23 15:54:18   Desc
                           Exhibit E Page 1 of 5
Case 22-19791-KCF   Doc 23-9 Filed 02/16/23 Entered 02/16/23 15:54:18   Desc
                           Exhibit E Page 2 of 5
Case 22-19791-KCF   Doc 23-9 Filed 02/16/23 Entered 02/16/23 15:54:18   Desc
                           Exhibit E Page 3 of 5
Case 22-19791-KCF   Doc 23-9 Filed 02/16/23 Entered 02/16/23 15:54:18   Desc
                           Exhibit E Page 4 of 5
Case 22-19791-KCF   Doc 23-9 Filed 02/16/23 Entered 02/16/23 15:54:18   Desc
                           Exhibit E Page 5 of 5
